                Case 1:15-cr-02042-SAB                    ECF No. 175                filed 08/18/16        PageID.648 Page 1 of 7
                                                                                                                                         FILED IN THE
 2$2%       5HY  -XGJPHQWLQD&ULPLQDO&DVH                                                                              U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                             EASTERN DISTRICT OF WASHINGTON



                                                                                                                               Aug 18, 2016
                                              81,7('67$7(6',675,&7&2857                                                          SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                           JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU           1:15CR02042-3
                    JOSE LUIS GODINES
                                                                              8601XPEHU            17851-085

                                                                                     Richard A. Smith
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Superseding Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                             Nature of Offense                                                                       Offense Ended Count
21 U.S.C. § 841(a)(1) and                    Distribution of a Controlled Substance                                                     06/01/15    1s
   (b)(1)(A)




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        7       RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 G &RXQW V                                                 G LV         G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               8/17/2016
                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                  HRI,PSRVLWL
                                                                             WLLRQ
                                                                                R RI-XGGJPH
                                                                                         J QW




                                                             6LJQDWXUHRI-XGJH
                                                                  QDWXUH RII -XGJH




                                                             The Honorable Stanley A. Bastian                     Judge, U.S. District Court
                                                             1DPHDQG7LWOHRI-XGJH
                                                             


                                                                 8/18/2016
                                                             'DWH
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'()(1'$17 JOSE LUIS GODINES
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                                                              IMPRISONMENT

       7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI

        40 months, credit for time served.




   ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
   G
        1) participation in BOP Inmate Financial Responsibility Program;
        2) participation in BOP 500 Hour Drug Treatment Program, if eligible.
        3) placement at BOP facility near Sheridan, Oregon, to make it more convenient for family visitation.

   ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
   G

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
       G     DW                                      G DP     G SP          RQ                                             

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

   G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
       G     EHIRUHSPRQ                                              

       G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

       G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




       'HIHQGDQWGHOLYHUHGRQ                                                              WR

DW                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI                 5 years.




7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQDVZHOODVZLWKDQ\VSHFLDOFRQGLWLRQVRIVXSHUYLVLRQVHWIRUWKEHORZ
                                          STANDARD CONDITIONS OF SUPERVISION

       7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH

      7KH GHIHQGDQW VKDOO QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH 7KH GHIHQGDQW VKDOO UHIUDLQ IURP DQ\ XQODZIXO XVH RI D
       FRQWUROOHGVXEVWDQFHLQFOXGLQJPDULMXDQDZKLFKUHPDLQVLOOHJDOXQGHUIHGHUDOODZ7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVW
       ZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW

           *  7KH DERYH GUXJ WHVWLQJ LV VXVSHQGHG EDVHG RQ WKH FRXUW¶V GHWHUPLQDWLRQ WKDW WKH GHIHQGDQW SRVHV D ORZ ULVN RI IXWXUH
           VXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH

        ✔7KHGHIHQGDQWPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ
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         LHDQ\WKLQJWKDWZDVGHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQ
        VXFKDVQXQFKDNXVRUWDVHUV  &KHFNLIDSSOLFDEOH

          ✔7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOHVHH 
           *
           86&  D G DOO IHORQLHV FULPHV XQGHU &K $ FULPHV RI YLROHQFH DQG DWWHPSWV RU FRQVSLUDF\ WR FRPPLW WKHVH
           FULPHV 
       * 7KH GHIHQGDQW VKDOO FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86& 
         HW VHT  DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ
        ZKLFKKHRUVKHUHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH

        *  7KH GHIHQGDQW VKDOO SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH LI RQH H[LVWV ZLWKLQ D PLOH UDGLXV RI
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        LQDFFRUGDQFHZLWKWKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW7KHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHURIDQ\
        PDWHULDOFKDQJHLQWKHGHIHQGDQW¶VHFRQRPLFFLUFXPVWDQFHVWKDWPLJKWDIIHFWWKHGHIHQGDQW¶VDELOLW\WRSD\DQ\XQSDLGDPRXQW
        RIUHVWLWXWLRQILQHRUVSHFLDODVVHVVPHQWV

       7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKLQ
        KRXUVRIUHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHUWHOOVWKHGHIHQGDQWWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFH
        RUZLWKLQDGLIIHUHQWWLPHIUDPH

       $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFHWKHGHIHQGDQWZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
        DERXWKRZDQGZKHQWRUHSRUWWRWKHSUREDWLRQRIILFHUDQGWKHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG

      7KHGHIHQGDQWPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUHKHRUVKHLVDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJ
        SHUPLVVLRQIURPWKHFRXUWRUWKHSUREDWLRQRIILFHU
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                               STANDARD CONDITIONS OF SUPERVISION &RQWLQXHG
       7KHGHIHQGDQWPXVWEHWUXWKIXOZKHQUHVSRQGLQJWRWKHTXHVWLRQVDVNHGE\WKHSUREDWLRQRIILFHU

       7KHGHIHQGDQWPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHKHRUVKHOLYHV
         RUDQ\WKLQJDERXWKLVRUKHUOLYLQJDUUDQJHPHQWV VXFKDVWKHSHRSOHWKHGHIHQGDQWOLYHVZLWK WKHGHIHQGDQWPXVWQRWLI\WKH
         SUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXH
         WR XQDQWLFLSDWHG FLUFXPVWDQFHV WKH GHIHQGDQW PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI EHFRPLQJ DZDUH RI D
         FKDQJHRUH[SHFWHGFKDQJH

        7KHGHIHQGDQWPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLWWKHGHIHQGDQWDWUHDVRQDEOHWLPHVDWKLVRUKHUKRPHRUHOVHZKHUHDQG
          WKHGHIHQGDQWPXVWSHUPLWWKHSUREDWLRQRIILFHUWRWDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRIWKHGHIHQGDQW¶VVXSHUYLVLRQ
          WKDWKHRUVKHREVHUYHVLQSODLQYLHZ

       7KHGHIHQGDQWPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHU
         H[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWGRHVQRWKDYHIXOOWLPHHPSOR\PHQWKHRUVKHPXVWWU\WRILQGIXOOWLPH
         HPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHVWKHGHIHQGDQWIURPGRLQJVR,IWKHGHIHQGDQWSODQVWRFKDQJHZKHUHWKH
         GHIHQGDQWZRUNVRUDQ\WKLQJDERXWKLVRUKHUZRUN VXFKDVWKHSRVLWLRQRUWKHMREUHVSRQVLELOLWLHV WKHGHIHQGDQWPXVWQRWLI\
         WKHSUREDWLRQRIILFHUDWOHDVWFDOHQGDUGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOH
         GXHWRXQDQWLFLSDWHGFLUFXPVWDQFHVWKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRIEHFRPLQJDZDUHRID
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         WKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHSUREDWLRQRIILFHU

       ,I WKH GHIHQGDQW LV DUUHVWHG RU KDV DQ\ RIILFLDO FRQWDFW ZLWK D ODZ HQIRUFHPHQW RIILFHU LQ D FLYLO RU FULPLQDO LQYHVWLJDWLYH
         FDSDFLW\WKHGHIHQGDQWPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV

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         LQIRUPDQWZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW

       7KHGHIHQGDQWPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ
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                                         SPECIAL CONDITIONS OF SUPERVISION

 (19) The defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into
 and successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. The defendant shall contribute to the cost of treatment according to his ability to pay. The defendant shall
 allow full reciprocal disclosure between the supervising officer and treatment provider.

 (20) The defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as
 directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 (21) The defendant shall submit his/her person, residence, office, vehicle and belongings to a search, conducted by a probation officer,
 at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. The defendant shall warn persons with whom he/she shares a residence that
 the premises may be subject to search.
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                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO           $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage




TOTALS                                                     0.00                                 0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


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                                                        SCHEDULE OF PAYMENTS

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A     G    /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

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F     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.
                                                        Don't forget to edit this field!
8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
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  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
